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                                     #:42196


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14
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
16                                           )
17           Plaintiffs,                     )   SEVENTH SUPPLEMENT TO
                                             )   DEFENDANTS’ RESPONSE TO
18                v.                         )   JUNE 25, 2020 AMICUS BRIEF
19                                           )
     WILLIAM P. BARR, Attorney               )
20   General of the United States; et al.,   )
21                                           )
             Defendants.                     )
22                                           )
23
                                             )

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 1         On June 26, 2020, the Court ordered that “Defendants may respond to the
 2
     amicus brief [Doc. # 831] by July 2, 2020.” ECF No. 833 at ¶ 3. In accordance with
 3

 4   the Court’s order, on July 2, 2020, Defendants filed a response from Ms. Deane

 5   Dougherty, the Juvenile Coordinator for U.S. Immigration and Customs
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     Enforcement (“ICE”). See ECF No. 838. That response explained that “ICE has been
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 8
     reporting any positive test results to the Court in O.M.G. v. Wolf, 1:20-cv-00786-

 9   JEB (D.D.C filed March 21, 2020),” and attached the reports submitted to the
10
     O.M.G. Court as of July 2, 2020. See Response of Deane Dougherty, ECF No. 838-
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12
     1, at 2 and attachments.

13         Defendants have continued to submit updates to that Court, and have
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     supplemented their July 2, 2020 filing to this Court with additional reports filed in
15
     O.M.G. through October 23, 2020. Defendants stated that they will continue to
16

17   update this Court regarding the reports filed in O.M.G. Accordingly, attached hereto
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     are the additional reports filed in O.M.G. through November 20, 2020.
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                                     #:42198


 1
     DATED:     November 24, 2020      Respectfully submitted,
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 3
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                                       Acting Assistant Attorney General
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10                                     /s/ Sarah B. Fabian
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     Case 2:85-cv-04544-DMG-AGR Document 1041 Filed 11/24/20 Page 4 of 4 Page ID
                                     #:42199


 1                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on November 24, 2020, I served the foregoing pleading

 4   and attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
     electronic filing system.
 6

 7

 8                                               /s/ Sarah B. Fabian
 9                                               SARAH B. FABIAN
                                                 U.S. Department of Justice
10                                               District Court Section
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12                                               Attorney for Defendants
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